Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 1 of 12




           EXHIBIT                      A(1)




           EXHIBIT                       A(1)
      Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 2 of 12


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     COMP
     C,ad• ,1. POTFER, III, ESQ.
 2   Nevada Bar No. 198g                                                                          CLERK OFTHE COURT
     POTTER LAW OFFICES
 3   1125 Shadow Lane
     Las Vegas, NV 89102
 4   Tel: (702) 385-1954
     Fax: (702) 385-9081
 5   A rtorney,fi•r Plaintiff
                                                      DISTRICT COURT
                                            CLARK              COUNTY, NEVADA
                                                                     ooo



 9   DR. TAM         NGUYEN,
10             Plaintiff,                                                               A-12-665334-C
                                                                                         (::AGE NO.:
     VS.                                                                                 DEPT. NO.: XXVI              I T

12
     LAS VEGAS METROPOLITAN POMCE                                                        COMPLAINT
13   DEPARTMENT, a Political Subdivision                                                 (Juo' Demanded)
     o[ the STA-fE OF NEVADA; Police Officer
14   NAKAGAWA (I,VMPD #5476) individually
     and as Police Officer: employed by the LAS VEGAS
I5   METROPOLITAN POLICE DEPARTM ENT;
     Police Officer GEIGER (LVMPD #9864)individually
16   and as Police Officer; employed by the LAS VEGAS
     METROPOI.ITAN POLICE DEPARTMENT;
     POLICE OFFICER JOHN DOES I-NZK; and JOHN
     DOES I-XX, inclusive,
lg                                                  /
]9
               COMES NOW Plaintiff. DR. TAM                   NGUYEN, by and through h{s attorney of record,
20
     CAI. J. POTTER, III, ESQ., of the               law firm POTTER LAW OFFICES, and for his Complaint
2]
     against defendants,         and each of      them, jointly      and   severally, allege, complain       and state      as   follows:
22
23                                                                 PARTIES
24             I.           At all relevant times to these         proceedings,        Plaintiff DR. TAM NGUYEN
25   (hereinatier     "DR. NGUYEN"           or    "Plaintiff")was and is         a    residen! of the   Cotmty   of Clark, State
26   o   f Ncvada.
               2.           Defendant. LAS VEGAS METROPOLITAN POLICE DEPARTMENT
     (IIereinalier    referred    to as   "LVMPD"),       is   a   political entity'    formed and    operated    pursuant       to   the
     Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 3 of 12




     Nevada Revised Statutes and at all times relevant                                         herein, employed Defendant Police Officer
 2   NAIZ, AGAWA and Police Officer GEIGER.
 3              3.             Defendmlt Police Ot•ficer NAKAGAWA                                         (Hereinafter retorted                 to   as

 4   "NAKAGAWA"),                       is and       was        at    all' times relevant "to this          Complaint,          a   citizen of the U•tited
 5   States of        America, and             a    resident of the State of Nevada. He is sued in both his                                          capacity     as a

 6   police     officer with lhe LVMPD                               as   well   as   in his individual       capacity.
 7              4.             Defendant Police O['ficer GEIGER                                 (Hereinafter            re[erred to       as "GEI(iER"), is              and
 8   was   at   all times relevam                   1o   this        Complaint,        a   citizen of the United States of                  America, and a
 9   resident ot'the State of Nevada. tie is sued in both his                                         capacity           as a   police officer            with the
10   LVMPD            as    well   as    in his individual                   capacity.
I1              5.             The true  capacities, whether individual, corporate, •sociate, or
                                                   names         and
12   othepa;ise, of Defendants herein designated as DOE OFFICERS I through •'CX, inclusive; and
13   ROE CORPORATIONS I through XX, inclusive, ,tomes are presently unknown to Plaintiffwho,
14   therefore, sue Defendants by such fictitious names; when their true names and capacities are
15   ascertained, Plaintiffs will amend the Complaint accordingly                                                  to    insert the       same       herein.
16               6.            Plaintiff is informed and believes and. based upon such irdbrmation and                                                           belief,
17   alleges    that each of the Defendants herein                                    designated     as   DOE OFFICERS                         through XX,
I8   inclusive; and ROE CORPOR,,VIIONS I through XX, inclusive, is, in                                                              some        maturer, negligently,

19   wilfully, contractually                 or      otherwise              responsible       for the events,           happenings,        occnrrences           and
20   injuries     sustained             by Plaintiffs            as       alleged     herein..Pursuant        to   NRCP          10(a)     and       Nurenberger
21   Hercules-Werke GMBH                            v.    Virotek. 107 Nev. 873,822 P.2d 1100                               (199 l),      the identi w of
22   Defendants             designated         as        DOE OFFICERS I                    through   XX      are    unknown          at   the present          time;
23   however, it is           Nleged        ,and believed these Defendants                           were    involved in the initiation,                    approval,
24   support      or       execution ot" the              wrongful  litigation is premised, or of similar
                                                                              acts upon      which this
25   actions directed against Plaintiff about which she is presently unaware. As the specific identities
26   oJ: these parties arc revealed through the course of discovery, the DOE appellation will be
27   replaced to identify these parties by their true names ,'rod capacities. Rel'erence herein to
28   "Dctendant" shall                  mem•        "Defendants, and each of them."
     Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 4 of 12




                                           FACTS COMMON TO ALL CAUSES OF ACYION
 2                7.           On     or   about December        29, 20t0 Plainti      ffwas    stopped by      LVMPD    on   suspicion       of
 3   driving      under the influence. The                ,arresting    officer for this event      was    Defendant Police Officer
 4   NAKAGAWA.               Transporting otlicer was Defendant Police Officer GEIGER.
                                     The
 5            8.      The day before his arrest, December 28,2010 DR. NGUYEN had been admitted
 6   to Summerlin Hospital on the basis that he had sut•hred a stroke. When DR. NGUYEN arrived

 7   to work on the morning of December 28 t• at the L%LV oral surgery, clinic where he is a dental

 8   instructor, his disposition was noticeably disoriented. He was ataxic, had slurred speech and was
 9   having difficul• maintaining his balance. Dr. Daniel Ot• took DR. NGUYEN to Summerlin
10   Hospital.
II                9.            DR. NGUYEN             was    admitted to Summerlin            Ilospital   on   December 28, 20 I0.
12   After    a   stat      MRI,      MRA m•d carotid ultrasounds it             was    determined that DR. NGUYEN would be
13   kept    at   the       hospital overnight        and not released until the next       day, December 29, 2010 which              was

14   the    day    that N.aaKAGAWA arrested Plaintiff                      on   suspicion of driving under the influence.
15                 10.          At    approximately       3 p.m.   on    December 29, 2010 alter DR. NGUYEN had been
I6   home and    resting for several hours he decided that he felt well enough to lxavel to the pharmacy
17   and fill his prescriptions. While driving to the pharmacy DR. NGUYEN received a phone call
18   from a work colleague, inquiring about his health. While on the phone with this individual DR.
19   NGUYEN's vision became decreased and doubled and his was speech slurred. Ima-nediately
20   Plainti[f attempted to find a safe place to park his vehicle. DR. NGUYEN was still wearing his
21   hospital bracelet. It should be noted that at the time it was not illegal to use a cell phone while
22   driving.
23                     1.       It   was    at   this moment,    through    his double vision, that DR. NGUYEN noticed                    a

24   police       officer behind him. Due                to   the stroke he had suffered within the last 24 hours and the
25   likeliness that DR. NGUYEN                         was   again suffering      a   stroke when     stopped by     Defendant Police
26   Officer NAKAGAWA DR. NGUYEN                                   was    conthsed. DR. NGUYEN's vision                 was not   correct
27   and he       was        unable to      speak clearly.
28   ///
      Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 5 of 12




                    12.           Although it    was     difficult for Plaintiff to articulate due                           to       his sudden        inability   to

2    speak     or    think        clearly, DR.    NGUYEN did attempt                      to    inform Defendant Police Officer
     NAKAGAWA of his condition. DR. NGUYEN told Defendant Police Officer NAKAGAWA
 4   that he has           recently    been    discharged         from the        hospital having                 suffered        a   stroke     by the
                                                                                                                                                as   indicated
 5   hospital        identification bracelet still               worn   on      his wrist. Plaintiff               also explained to lransporting
 6   officer Defendant Police Officer GEIGER tkat he                                   was en           route      to pick up prescribed medication

 7   [br his condition and that he believed he                          was       again suffering             a    stroke and that he would like to be
     transported to a hospital.                  "l'he Plainti [I•s arrest          was        without       probable        cause        and     was    pursuant        to

 9   inadequate training as to                 the     recognition      of stoke victim.
10                  13.           Defendant Police Officer NAKAGAWA and Police Officer GEIGER                                                             ignored        DR.
ll    '4GUYEN'S request for medical attention and dismissed both                                                   pertinent          and factual information
12    :egarding            his medical condition. Defendant Police Officer NAKAGAWA                             required DR.
13   NGUYEN                 to   perform   a   field   sobriety     test.       After unsuccessfully performing this test DR.
14   NGUYI2N                was    arrested and booked with                 a   12 hour hold on cl•arges of driving under the

15   h•fluence.
16                   14.           Wlfile incarcerated at the Clark                 County Detention Center, Plaintill"                                 DR. NGUYEN

17   was       unable to take the medicine that had been                            prescribed          to    him fiom his               recent      hospitalization.
18   As    a   result of this he suffered               a    heavy headache,          was        very confused mad could not control his
19   bladder         or     bowel movements. DR. NGUYEN lost                    coordination, experienced muscle weakness,
20   numbness and                  tingling.   Plaintiff also       experienced problems with his eyesight; decreased and
2l    doubled         vision, difficultly walking and                   an.     inclination       to   fall; "all of which               are cormnon          symptoms
22    experienced by                individuals whenthey are suffering a stroke.
23                   15.         During his arrest and subsequent incarceration, DR. NGU .YEN was not able to
24    inform his            wife o[-his whereabouts until the morning of December 30,2010. Concerned about

25    the sudden             disappearance of her husband in his vulnerable stale, Mrs. Nguyen filed a Missing
26    Perstm's            report with LVMPD                 on   December 29, 2010                at   approximately                  6:00 p.tn. When Mrs.

27    Nguyen              filed this report she        provided      her husband's              name         and license        plate number,               which        are


28    common               ways of     identifying      both     missing people            as    well    as       wanted      fugitives.

                                                                                      4
           Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 6 of 12




                            16.       Mrs. Nguyen spent the next 12 hours driving around the cits, of Las Vegas in the
2                           of the   night looMng lbr her husband. When Mrs. Nguyen would return home tired from
3         •er                                   phone calls to the police department in hopes of any
                     search she would follow UP with
          information on the location of her missing husband. At this time mad "all relevant times stated
 5        herein DR. NGUYEN was either in the temporary custody of LVMPD or the custody of LVMPD
 6        at    the Clark County Detention Center.
 7                          17.        On the      morning       of December      30,2010 alter her husband had been                            a   documented

 8        missing person for at least 12 hours with a detective assigned to t•er missing person's case Mrs.
    9     Nguyen linally received a phone call from her husband who had been released l'rom the Clark
10        Country Detention Center without bond. The phone call Mrs. Nguyen received from her husband
1l        coincided with what would be the last phone call she placed to the detective assigned to her
12        search tbr a missing pers•m. While on the phone with the de|ec.tive •signed to her case, Mrs.
13        Nguyen informed                     him that she       saw   her husband       calling        in   on   the other        line,   in turn the detective

14         then        responded            that her    missing person report          was   dismissed, and '•erminated their phone call.                          At

15         no        time     was    Mrs.     Nguyen      ever   made    kmowledgeable             of Plaintiff's       wrongful           arrest and

16         incarceration.
 17                           18.       Two wecks before DR. NGUYEN                          was    scheduled to appear in Justice Court, the

 18        office of the District Attorney informed Piaintil'f that                                they would          not    be     filing ch•ges against
 19        him         as    he had not con•nitted an}' crime.

 20
                                                                   FIRST CLAIM FOR RELIEF
21
                                                                 (Violation   of Constitutional                   Rights)
 22
                              19.           Plaintiff   incorporates     herein   by    reference the             allegations        contained above      as
 23
               though •ally           set    forth herein.
 24
                              20.           The actions of Defendants LVMPD, Police Officer                                  NAKAGAWA,              and Police
    25
               Officer GEIGER constitute unreasonable and                              deprivation           of    liberty   without due process ofla•v in
    26
               violation o[thc [:otn-th ,and Foartcenth .•nendments                                to    the United States Constitution.
     27
               ///
     28
           Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 7 of 12




                      2 l.          Defendants LYMPD, Police Officer                  NAKAGAWA,             and Police ()ffleer     GEIGER,
           violated the cmtstitutional
                                     rights of Plaintiff through unlawful detention and arrest without
           probable cause even though Plaintiffhad not cormnitted a crime, and by thiling provide
                                                                                             to        DR.
           NGUYEN his prescribed medications throu• medical screening
                                                                             or constitutionally adequate
      5    medical        screening.
      6              22.            PIaintifl'was    willfully, maliciously,          and   intentionally imprisoned       without
      7   justification,       or   probable      cause     •vhen DR. NGUYEN told Def?ndant Police officer
      8    NA KAGA WA and Defendant Police Officer GEIGER                                       f his condition and that he
                                                                                            o                                 was    recently
     9     released from Summer/in                Hospital.
 t0                  23.         Defendant Police Officer NAICa, GAWA and Defendant Police Officer
                                                                                                        GEIGER's
 11       actions    were      committed with actual malice toward Plaintif'f and with willful and
                                                                                                   wanton
 12       disregard  deliberate indil]•rence ['or his constitutional and statutory, rights.
                           to and

 13         24.    The intentional tkse of an unlaxaful detention and arrest of Plaintiff by
                                                                                               Defendant
 14 Police Ofticer NAIQ•-GAWA and Defendan'• Police Ofticer GEIGER:
                                                                                and as authorized by
 15       Defendants violated the                following rights     of Plainti ff    as   guaranteed by the Fourth and Fourteenth
 16       Amendments to the United States ConstiVation:
 17                  A.         Freedom from the              deprivation   of medical treatment and/or medication in violation
18                              of his Fourteenth Amendement.
19                   B.         Freedom t:•om the             deprivation   of life         liberty
                                                                                without due process of law and
                                                                                      or

20                              from unreasonable force in violation of the Fourteenth Amendment.
21                  25.         As     a   direct m•d      proximate result of     the acts and omissions of Defendant Police
22        officer NAKAGAWA and Police Ollicer GE1GER Plaintiff DR. NGUYEN endured
                                                                                                                               pain    and
23        further mental suffering, and hc was deprived of his physical libem, all in ot:                         excess      $10_000.00.
24                  26.         The denial of medical treatment               against Plaintiff coupled with the unlawful
25        detention and arrest of Plaintiff                by Defendants
                                                              done with actual malice toward Plaintiff and
                                                                             was

26        with willful and wanton indifference to and deliberate disregard for the constitutional
                                                                                                  rights of
27        Plaintiff. Plaintiff is thus entitled to               exemplary damages against              the individual defendants in
28        their individual          capacities    all in    excess o t $10,000.00.
      Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 8 of 12




               27.        Plaintiff is entitled              to   compensato•.-y and exemplary                 damages resulting from               the
 2   violation of the aforementioned                    fights      under 42 II.S.C.        §   1983 all      in excess of $10,000.00.
 3              28.        Plaintiff has been forced                   to    pursue this action m search of              justice   and to enibrce
 4   the    provisions    of 42 U.S.C.           §   1983 and is tl•erefore entitled to be awarded reasonable                           attorney's
 5   fees pursuant to 41 U.S.C.              §       1988.
 6              29.        That   as a   direct result of the acts and omissions of the                             Defendants,     and each of
 7   therm Plaintiff       was    caused t• suffer                physical     mad mental       inju•, pain          suffering, and severe
                                                                                                                   and
 8   emotional distress and other related costs,                             medical, and lost       wages,    including but not limited to
 9   attorney fees in       excess     of   $10,000.00
10
                                                       SECOND CLAIM FOR RELIE•"
11
                                                          (Monell Claim)
12                                             (Violation of C•nstitutional Rights)
13              30.        Plaintiff     incorporates herein by reference the allegations                                contained above       as

14   though fully        set Ibrth herein.

15              31.        LVMPD failed to                   adequately train, direct, supervise,                  or   control Defendant Police
16   Officer NAKAGAWA and Defendant Police Officer GEIGER                                                as   to    prevent the violation of
17   Plaintiff's constitutionalrights.
18           32.    At all times pertinent hereto, Defendant Police Officer NAKAGAWA and

19   Defendant Police Officer GEIGER were acting within the course and scope of the employment
20   and the inadequate training, supervision, direction and/or cent.tel they received as m the
21   recognition of stroke victims was the proximate cause behind the conduct causing Plaintiff to
22   suffer the constitutional violations. Defendant LVMPD is therefore liable for the violation of
23   PlaintifFs constitutional              rights by         Defendant Police Officer NAKAGAWA and Defendant Police
24   Officer GEIGER_
25              33.        Plaintiff is thus entitled                to     compensatory damages resulting from the violation of
26   the aforcmcntioned constitutional                        rights        under 42 U.S.C.      §   1983 in       excess   of   $10,000.00.
27   ///
28   /.//
          Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 9 of 12




                        Plaintiffhas been forced to pursue this action in search of justice and to enforce
                       34.
         the provisions of 42 U.S.C. § 1983 and are therefore entitled to be awarded reasonable attorney's
         fees    as    part of his   costs        pursuant    to   41 U.S.C.  § 1988 in an an•omat in excess of $10,000.00.
                       35.        Defendant LVMPD failed to                 properly hire, train, instruct, monitor, supervise,
         evaluate, investigate, and discipline Defendant Police Officer NAKAGAWA and Defendant
     6   Police Officer          GEIGER,              with dcliberatc indifference to Plaintift's constitutional                rights, which
     7   were        thereby    violated     as       described above all to his      damage     in   an   amount    in   excess or' S10,000.00.
     8                 36.        'fhc unconstitutional actions and/or omissions of Defendant Police Officer
 9       NAKAGAWA and Defendant Police Officer GEIGER,                                      as   describcd       above,   were   approved,
IO       tolerated and/or ratified by policy-making officers for the LVMPD. Plaintiff is informed and
11       believes, and thereupon alleges, the details of this incident have been revealed to the authorized
12       policy makers within the I.VMPD, and that such policy makers have direct knowledge of the fact
13       that the stroke victims can be falsely imprisoned and denied medication and
                                                                                         was not justit]ed,

14       but rather          represented     an       tmconstitutional    display    of  deprivation and denial of medical screening.
15       Notwithstanding this knowledge, the authorized                             policy makers within the LVMPD have
16       approved of Defendant Police Officer NAKAGAWA                                    and Defendant Police Officer GEIGER's
17       actions, and have made                   a   deliberate choice    to   endorse Dcfendants           wrongful     ,arrest and    detention.
18       By     so    doing,    the authorized           policy    m'&ers within the LVMPD have shown affirmative agreement
19       with the individual defendant officers' actions, and have ratified the unconstitutional                                        acts   of the
20       individual defendant officers.
21                     37.        The aforementioned customs,                   policies, practices,
                                                                                  procedures, the failures to
                                                                                                           and
22       properly and adequately hire, tram, instruct, monitor, supervise, evaluate, investigate, and
23       discipline, as well as the unconstitutional orders, approvals, ratification and toleration of
24       wrongful conduct of Defendant LVMPD •vere the moving force and/or a proximate cause of the
25       deprivations of Plaintiff's clearly-established and well-settled constitutional rights in violation of
26       42 U.S.C. § 1983, as more fully set *brth above.
27       ///
28       ///
      Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 10 of 12




                 38.         Defendants subjected Plaintiff                       to   their    wrongl\d conduct, depriving                   Plaintiff of
      rights described herein, •knowingly, maliciously,                                and with conscious and reckless                      disregard         for
      whether the ri,,•hts mid safcw of Plaintiff.
                 39.         That          as a   direct result of the       acts      and omissions        of   the   Defendants,           and each of
      them, Plaintiff           was        caused to suffer       physical        and mental    injury, pain           and   suftmqng,           and   severe

  6   emotional distress and other rclated costs, and lost                                wages, including             bm not limited to               attorney
  7   fees in    excess      of      ($10,000.00).
  8
  9                                                          THIRD CLAIM FOR RELIEF
10                                                      (False     Arrest         False    Imprisonment )
11               40.            Plaintiff         incorporates     herein     by reference         the    allegations contained               above      as

12    though fully        set     forth hereto.
                 41.            Defendant Police Officer NAKAGAWA and Det•ndant Police OfficerGEIGER's
14    conduct of arresting                  Plaintiff wilhout       legal    or    probable       cause    constitutes false            arrest     and false
15    irnprisonment.
16               42.            As     a   direct and       proximate       result of Defend,'mts           conduct, Plaintiff has incurred
17    special    and   general damages                 in    an   amount to       bc shown at the tLme of trial.
lg               43.            Defendant Police Officer NAKAGAWA and Police Officer GEIGER's conduct
19    was    committed           intentionally, maliciously, and with                          conscious    disregard        to   the     safety    of Plaintiff
20    warranting       the      imposition of punitive damages.
21               44.            Defendant Police OlI•cer NAKAGAWA and Defendant Police O•[•cer GEIGER
22    were   in the    course          and scope of their           employment performing                   their duties          as an    employee           of
2.3   Defendant LVMPD at the date mad time set fm-th herein.
24               45.            Defendant Police Officer NAKAGAWA and Defendant Police Officer GEIGER
25    in their   capacity         as       employees        of DcfendanLs LVMPD, committed                         a   tort upon        Plaintiff.
26    ///
27    ///
28    ///
     Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 11 of 12




               46.             That       as a    direct result of the      acts   and omissions of*he             Defendants,           and each of
 2   them, Plaintiff           was        caused to suffer      physical     and mental        injury, pain        and     suffering,      and    severe

 3   emotional distress and olhcr related costs, and lost                                wages, inclnding         but     not   limited to attorney
 4   fees in   excess         of   ($10,000.00).
 5             47.             Pnrsuant to the doctrine             ofrespondeat superior,              Defendants LVMPD                    are     liable for
 6   Defendant Police Officer NAKAGAWA mad Police Ot'ticer (}EIGER's conduct within the scope
 7   of their employment, which directly resulted in Plaintiff's iniuries and damages herein above
 8   alleged    in     excess       of TEN TIIOUSAND DOLLARS                               ($10,000.00).
 9
10                                                       FOURTH CLAIM FOR RELIEF
11                                                 (Intentional Infliction of Emotional Distress)
12              48.            Plaintiff          incorporates herein by reference the allegations contained above                                   as

13   though fully            set forth herein.

14              49.            Defendant Police Officer NAKA(}AWA and Defendant Police Ol•cer GEIGER's
15   false arrest and false                imprisonment         of Plaintiffwas extreme and outrageous                          causing      Plaintiff     to
16   suffer emotional distress and                     was    done without         legal    or   probable    canse.

17              50.            As     a   direct and     proximate      result of Defendant Police Officer NAKAGAWA and
18   Police Officer GEIGER's intentional infliction of emotional distress upon Plaintiff, he has
19   incurred special and general damages                         in   an   mnount to        be shown       at   trial,    and is furlher entitled to
20   punitive damages.
21              5 i.           1"hat       as a   direct result of the acts and omissions of the                De[•ndants, and each of
22   •hem, Plaintiff           was        caused to sufl•r      physical      and mental          injury, pare and suffering, and severe
23   emotional distress and other related costs, and lost wages,                                   including       but not limited to             attorney
24   fees in   excess         of(S10,000.00).
25              WHEREFORE, Plaintiff DR. TAM NGUYEN expressly reserving the right                                                           to    amend this
26   Complaint          at   the time ot" trial         to   include all items of          damage yet ascertainable,                 demands
27   Jud•nent against                each of the        Defendants, and            for the above claims for               relief,   as   Ibllows:
28   ///


                                                                                    10
         Case 2:12-cv-01527-GMN-NJK Document 1-2 Filed 08/27/12 Page 12 of 12




                 1.         For   general damages            in   a sum   in   excess        of TEN TIIOUS,adx'D DOLLARS
     2   ($10,000.00)     for   pain   andsuffering         and emotional distress
     3           2.         For   speciai damages           for medical        care     and treatment, and for future medical                   care
     4   and treatment and incidental expenses                    therefor,    in    a sum     in            ofTEN THOUSAND
                                                                                                    excess
     5   !DOLLARS ($10,000.00);
     6           3.         For              in            of TEN THOUSAND DOIJ, ARS                           ($10,000.00)
                                  a sum           excess                                                                           for   pain    and
     7   suffering    and for   extreme      emmiona] distress            experienced by             Plaintiff herein:
     8           4.         For reasonable          attorney's fees and             costs   of suit incurred    herein;
     9           5.         For such other ,and further relief                 as    the Court may deem         just     and   equitable.
10
                 DA'I'ED
                                this/___•day        of   July,    2012.
11

t2
13                                                                                     (?AI(J. l-•tq'•, lIi, •.SQ.
                                                                                       Nev' d•/Bar No. 1988
14                                                                                     1125 Shadow Lane
                                                                                       I•as Vegas, NV 89102
 15                                                                                    A    ttorneyfor Plaintiff
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